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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT
for the

Western District of Pennsylvania

 

 

 

 

United States of America )
Vv. )
Melquan Barnett ) Case No. 1:20-mj-56
3425 Maple Street )
Erie, Pennsylvania 16508
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of May 30, 2020 in the county of Erie in the
Western District of Pennsylvania , the defendant(s) violated:
Code Section Offense Description
18 USC Section 844(i) did maliciously damage, and attempt to damage and destroy, by means of

fire, a building used in interstate commerce and in any activity affecting
interstate commerce, specifically, Ember + Forge, 401 State Street, Erie,
Pennsylvania 16501.

This criminal complaint is based on these facts:

™ Continued on the attached sheet.

S/ Valentino Cuba
Complainant's signature

bf FBI Special Agent Valentino Cuba
Printed name and title
bg Seat

 

 

   

Sworn to before m¢and signed i e.
wn oe
7) pros,
Date: 06/03/2020
Judge & signatur
City and state: Erie, Pennsyivania United States Magistrate Judge Richard Lanzillo

 

Printed name and title
